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    Verified Petition for Recognition of Foreign Nonmain Proceedings or, in the Alternative,

    Foreign Main Proceedings, Supplementing “Voluntary Petition,” and Motion for Related Relief

    Pursuant to Sections 105(a), 1507(a), 1509(b)(2)-(3), 1521(a), and 1525(a) of the Bankruptcy

    Code Giving Full Force and Effect to UK Scheme of Arrangement WKH³9HULILHG3HWLWLRQ´ $

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    Support of Verified Petition for Recognition of Foreign Nonmain Proceedings or, in the

    Alternative, Foreign Main Proceedings, Supplementing “Voluntary Petition,” and Motion for

    Related Relief Pursuant to Sections 105(a), 1507(a), 1509(b)(2)-(3), 1521(a), and 1525(a) of the

    Bankruptcy Code Giving Full Force and Effect to UK Scheme of Arrangement WKH³)DQNKDXVHU

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    Scheduling Recognition Hearing and Specifying Form and Manner of Service of Notice,ZKLFK

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